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                       UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
            v.                      )               Civil Action No. 3:20-cv-01300-JCH
                                    )
JEFFREY ANDREWS, et al.,            )
                                    )
                  Defendants.       )
____________________________________)

                    OBJECTIONS TO DEFENDANTS’ WITNESS LIST

       The United States notes that Defendants did not file a Witness List on November 23,

2020, as required under this Court’s Scheduling Order dated October 8, 2020. Dkt. 23.

Consequently, there are no witnesses currently identified to which the United States may object.

       At the Telephonic Status Hearing in this case held on November 23, 2020, Defendants

were granted leave by the Court until December 10, 2020 to “submit an affidavit of an expert

that will offer direct testimony at the hearing” on December 16, 2020. Dkt. 34.

       The United States reserves the right to object before the hearing to any expert witness to

be offered by the Defendants, including: (1) the substance of any submitted written testimony;

(2) objections permitted under Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993), and its progeny; and (3) any other applicable evidentiary objections under the Federal

Rules of Evidence. In addition, the United States intends to cross-examine any witness at the

hearing to be held on December 16, 2020.

                                             Respectfully submitted,

Dated: December 1, 2020                      s/ Benjamin J. Grillot__________________
                                             BENJAMIN J. GRILLOT
                                             Environment and Natural Resources
                                             Division
                                             Environmental Defense Section

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